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DEP. Cl.i`;'l~li-"_

ARTH U R CARSON,
VS. NO.411:733~DP|V|

ELNORA & HOSEA THOMPSON

PLAlNTlFF'S RESPONSE TO DEFENDANT'S ANSWER

TO THE HONORABLE JUDGE OF SAlD COURT:

Comes Now the Plaintiff, Arthur Carson, pursuant to Rule 12(f), Fed.R.Civ. P., request this Court
Strike the Defendant's answer to this lawsuit for the following reasons;
1). Plaintiff was never served a copy of Defendants answer as specified in their motion, only until
December 13, 2011, was Plaintiff served a copy. Thus , Defendants have misled this Court, which
Caused Plaintiff to waste this Court time with a default request.
2). For diversity purpose ofjurisdiction, citizenship or domicile is determined by two elements,
”Physica| presence within a state; and the mental intent" to make a home there indefinitely, see
Mississippi Band of Choctaw lndians V. Holy Field, 490 U.S. 30, 48, 109 S. Ct.1597(1989).

Therefore, Defendants seek to determine Plaintiff's mental intent, and are misplaced.

3).The claims of this lawsuit have not been previously determine, where there exist a distinct

Difference in claims. Even in arguendo, the prior lawsuit was dismissed for ”Want of prosecution",

And contained different issues or claims.

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(1)

See attached order.

WHEREFORE,PREM|SES CONSlDERED,PLAlNTlFF PRAY TH|S MA`|_l'ER PROCEED TO TRlAL.

RESPECTFULLY SUBMlTTED,

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ARTH U R CARSON

CERT|F|CATE OF SERVlCE

l, Arthur Carson, certify that a copy of the foregoing response is hereby mailed to: Elnora & Hosea

Thompson, this 21St day of December, 2011, by placing same in the U.S. mail.

MMW (Li/~¢rm/\

 

Arthur Carson
8215 Spanish Rd

Little Rock, AR 72209

(2)

 

CAUSE NO. DC»10-00021

ARTuuR CARsoN ln the District Court
vs_ of Da|las County, Texas
ELNORA THOMPSON. er at l34th District Court

ORDER OF DISMlSSAL FOR WANT OF PROSECUTION
Plaintif`f(s) having failed to take certain action heretofore specified by the Court
within the time period prescribcd, the Coun finds that the cause should be dismissed for
want of prosecution pursuant to Tex. R. Civ. P. 165a.
lt is. therei`ore, ORDERED, ADJUDGED and DECREED by the Court that this
cause be and is hereby dismissed and that all cost shall be taxed against the plaintiff(s),

for which let execution issuc.

lt is further ordered that execution may issue in favor of the officers of the Court

against each party hereto, respectively, for all costs by each incurred.

signed maza-ti or 514 »'~1 20 (3.

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cc: Counsei of record or Pr`oSe Party

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